Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 1 of 51 PageID 3
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 2 of 51 PageID 4
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 3 of 51 PageID 5
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 4 of 51 PageID 6
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 5 of 51 PageID 7
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 6 of 51 PageID 8
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 7 of 51 PageID 9
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 8 of 51 PageID 10
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 9 of 51 PageID 11
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 10 of 51 PageID 12
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 11 of 51 PageID 13
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 12 of 51 PageID 14
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 13 of 51 PageID 15
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 14 of 51 PageID 16
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 15 of 51 PageID 17
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 16 of 51 PageID 18
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 17 of 51 PageID 19
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 18 of 51 PageID 20
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 19 of 51 PageID 21
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 20 of 51 PageID 22
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 21 of 51 PageID 23
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 22 of 51 PageID 24
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 23 of 51 PageID 25
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 24 of 51 PageID 26
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 25 of 51 PageID 27
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 26 of 51 PageID 28
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 27 of 51 PageID 29
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 28 of 51 PageID 30
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 29 of 51 PageID 31
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 30 of 51 PageID 32
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 31 of 51 PageID 33
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 32 of 51 PageID 34
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 33 of 51 PageID 35
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 34 of 51 PageID 36
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 35 of 51 PageID 37
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 36 of 51 PageID 38
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 37 of 51 PageID 39
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 38 of 51 PageID 40
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 39 of 51 PageID 41
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 40 of 51 PageID 42
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 41 of 51 PageID 43
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 42 of 51 PageID 44
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 43 of 51 PageID 45
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 44 of 51 PageID 46
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 45 of 51 PageID 47
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 46 of 51 PageID 48
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 47 of 51 PageID 49
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 48 of 51 PageID 50
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 49 of 51 PageID 51
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 50 of 51 PageID 52
Case 3:11-cv-00882-O Document 2 Filed 04/28/11   Page 51 of 51 PageID 53
